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                            Exhibit 14
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                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF VIRGINIA
                                     Alexandria Division




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                                             :
            BMG RIGHTS MANAGEMENT (US) LLC, :
            et al.,                          :
                           Plaintiffs,       :
                                             : Case No. 1:14-cv-1611
                 vs.                         :
                                             :
                                             :
            COX ENTERPRISES, INC., et al.,   :
                           Defendants.       :
            ---------------------------------:




                                        HEARING ON MOTIONS


                                        November 20, 2015


                              Before:    Liam O'Grady, USDC Judge




            APPEARANCES:

            Walter D. Kelley, Jr., John M. Caracappa, Jeremy D. Engle,
            Jeffrey M. Theodore, William G. Pecau, and Michael J. Allan,
            Counsel for the Plaintiffs

            Andrew P. Bridges, Brian D. Buckley, Jed Wakefield, and
            Craig C. Reilly, Counsel for the Defendants




                                                   Norman B. Linnell   OCR-USDC/EDVA   (703)549-4626
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       1               THE COURT:     All right.

       2               MR. CARACAPPA:     We think we do have support in the

       3   date, but we understand the Court's position.

       4               THE COURT:     It goes back way before that.              So that

       5   certainly is proper impeachment.

       6               MR. KELLEY:     Okay.    Moving right along, we have the

       7   Copyright Alert System, about keeping that out.                 Mr. Engle will

       8   address that.

       9               THE COURT:     Well, why don't we have --

     10                MR. KELLEY:     Do you have --

     11                THE COURT:     Copyright alert, is that still relevant?

     12    Why don't we have -- well, all right, we'll continue in the

     13    same order.     You believe it is.

     14                MR. BRIDGES:     Yes, sir.

     15                THE COURT:     Okay.    Then let's have the argument.

     16                MR. ENGLE:     Your Honor, just briefly, because I think

     17    we've sort of touched on this with some of the other arguments.

     18                Cox wants to hold out the Copyright Alert System and

     19    whether ISPs -- as this benchmark for Cox and say, look, jury,

     20    this is what other people were doing, and so Cox was fine to do

     21    this.

     22                Well, there is a big problem with that.                That is,

     23    there is no evidence about how other ISPs actually handle

     24    infringement notices.       I mean, everybody is just looking at

     25    what they say they do.       We already know what an ISP says it




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       1   does in the public --

       2               THE COURT:     So nobody was disposed, no other ISPs

       3   were deposed to determine when they took action on notices?

       4               MR. ENGLE:     That's absolutely right.             They could have

       5   taken third party discovery.        They didn't do that.

       6               THE COURT:     Okay.

       7               MR. ENGLE:     Thank you, Your Honor.

       8               THE COURT:     All right.

       9               MR. BRIDGES:     Your Honor, on this, I think the

     10    Copyright Alert System has actually become more relevant since

     11    the Court's decision last night for this reason.                  The

     12    plaintiffs originally filed this motion saying that it's

     13    irrelevant to the DMCA.       And if it's irrelevant to the DMCA,

     14    with the DMCA out, it's all the more obviously relevant for

     15    other reasons.

     16                Your Honor, no other ISP got deposed, but we do have

     17    evidence of how other ISPs responded to Rightscorp's notices.

     18    And in testimony --

     19                THE COURT:     How are you going to get that in?                  What

     20    competent evidence is there of that that you are going to try

     21    to admit?

     22                MR. BRIDGES:     Admissions from Rightscorp, Your Honor,

     23    deposition testimony.       I asked:    Does AT&T still ignore your

     24    notices?    Yes.    Does Verizon still ignore your notices?                   Yes.

     25    More questions about Cablevision and others.




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       1               THE COURT:     How is that relevant?          That they also

       2   choose to put themselves at risk for infringement because they

       3   don't comply with the notice requirement?

       4               MR. BRIDGES:     Your Honor, we're not talking about a

       5   notice requirement anymore because the DMCA is out of the case.

       6   We are now talking about purely willful blindness and whether

       7   what Cox does is something that is inducing or materially

       8   contributing to infringement.

       9               The basic thrust of the case here -- let's talk about

     10    what the case is about.       The case is Cox provides a general

     11    Internet service, just like AT&T, just like Verizon --

     12                THE COURT:     You keep saying the DMCA is out of the

     13    case.    I'm sorry, I mean --

     14                MR. BRIDGES:     I thought that was the thrust of the

     15    Court's summary judgment decision last night.

     16                THE COURT:     It was.   So tell me again why is it

     17    relevant that AT&T or others ignore --

     18                MR. BRIDGES:     And as well, Rightscorp got detailed

     19    correspondence from many of these.          A number of ISPs wrote back

     20    in explaining the flaws in Rightscorp's notices.                 They wrote to

     21    both of the actual plaintiffs in the case.

     22                And the plaintiffs get these letters from ISPs

     23    saying, your letters, your notices are flawed.                And the

     24    plaintiffs didn't do anything.         They just sent them over to

     25    Rightscorp and said, you deal with it.            And Rightscorp didn't




                                                 Norman B. Linnell   OCR-USDC/EDVA   (703)549-4626
